Case 2:17-cr-00258-APG-GWF   Document 105   Filed 04/19/18   Page 1 of 7
Case 2:17-cr-00258-APG-GWF   Document 105   Filed 04/19/18   Page 2 of 7
Case 2:17-cr-00258-APG-GWF   Document 105   Filed 04/19/18   Page 3 of 7
Case 2:17-cr-00258-APG-GWF   Document 105   Filed 04/19/18   Page 4 of 7
Case 2:17-cr-00258-APG-GWF   Document 105   Filed 04/19/18   Page 5 of 7
Case 2:17-cr-00258-APG-GWF   Document 105   Filed 04/19/18   Page 6 of 7
Case 2:17-cr-00258-APG-GWF   Document 105   Filed 04/19/18   Page 7 of 7
